    MORRISON TENENBAUM PLLC                                           Hearing Date: August 22, 2018
    Counsel to the Debtor                                             Hearing Time: 11:00 a.m.
    87 Walker Street, Floor 2
    New York, New York 10013
    Phone: 212-620-0938
    Lawrence F. Morrison, Esq.
    Brian J. Hufnagel, Esq.

    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
    --------------------------------------------------------------X
    In re:                                                            Chapter 11

    JMG RESTAURANT GROUP LLC,                                         Case No. 18-42552 (NHL)

                                        Debtor.
    --------------------------------------------------------------X


            NOTICE OF DEBTOR’S MOTION PURSUANT TO 11 U.S.C. § 365(d)(4)
              FOR AN EXTENSION OF THE TIME TO ASSUME OR REJECT
              UNEXPIRED LEASE OF NONRESIDENTIAL REAL PROPERTY

           PLEASE TAKE NOTICE, that upon the annexed motion (the “Motion”) dated July 24,

2018, JMG Restaurant Group LLC (the “Debtor”), by and through its undersigned attorneys

Morrison Tenenbaum PLLC, will move this court before the Honorable Carla E. Craig, Chief

United States Bankruptcy Judge, 1 at 271-C Cadman Plaza East, Suite 1595, Brooklyn, New York

11201 on August 22, 2018 at 11:00 a.m. (prevailing Eastern Time) (the “Hearing Date”), or as

soon thereafter as counsel may be heard, for an entry of an Order extending the period within

which Debtor may assume or reject the lease of nonresidential real property (the “Lease”) with its

landlord Metropolitan Transportation Authority, acting by and through Metro-North Commuter

Railroad Company (the “Landlord”) by ninety (90) days through and including November 27,

2018, and granting the Debtor such other and further relief as this Court may deem just and proper.


1Please note that although the case is assigned to the Honorable Nancy Hershey Lord, this
Motion is being scheduled before the Honorable Carla E. Craig on August 22, 2018 at
11:00 a.m.
       PLEASE TAKE FURTHER NOTICE that the Motion with all exhibits is being served

on the Landlord, the Office of the United States Trustee, and any party that has filed a notice of

appearance pursuant to Bankruptcy Rule 2002. This Notice of Motion only is being served on all

creditors. A full copy of the Motion papers can be obtained through the Court’s PACER system

or by contacting Brian J. Hufnagel, Esq. at bjhufnagel@m-t-law.com

       PLEASE TAKE FURTHER NOTICE that all response or objections, if any, to the

Motion shall (i) be made in writing, (ii) conform to the Bankruptcy Rules and the Local Bankruptcy

Rules for the Eastern District of New York, (iii) set forth the basis for the objection and the specific

grounds therefore, (iv) be filed with the Court with a copy delivered directly to the Chambers of

the Honorable Carla E. Craig, together with proof of service thereof, and (v) shall be served in a

manner so as to be received not later than 5:00 p.m. on August 15 by Morrison Tenenbaum PLLC,

87 Walker Street, Floor 2, New York, NY 10013 (Attn: Brian J. Hufnagel, Esq.)

Dated: New York, New York
       July 24, 2018

                                                       MORRISON TENENBAUM PLLC


                                                       By:     /s/ Brian J. Hufnagel
                                                       Lawrence F. Morrison
                                                       Brian J. Hufnagel
                                                       87 Walker Street, Floor 2
                                                       New York, New York 10013
                                                       Tel.: (212) 620-0938
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 MORRISON TENENBAUM PLLC
 Counsel to the Debtor
 87 Walker Street, Floor 2
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 Phone: 212-620-0938
 Lawrence F. Morrison, Esq.
 Brian J. Hufnagel, Esq.

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
 In re:                                                            Chapter 11

 JMG RESTAURANT GROUP LLC,                                         Case No. 18-42552 (NHL)

                                     Debtor.
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              DEBTOR’S MOTION PURSUANT TO 11 U.S.C. § 365(d)(4) FOR AN
             EXTENSION OF THE TIME TO ASSUME OR REJECT UNEXPIRED
                   LEASE OF NONRESIDENTIAL REAL PROPERTY

        JMG Restaurant Group LLC (the “Debtor”), by and through its undersigned attorneys

Morrison Tenenbaum PLLC, hereby files this motion (the “Motion”), pursuant to section 365(d)(4)

of title 11 of the United States Code (the “Bankruptcy Code”), for entry of an order, substantially

in the form attached hereto as Exhibit A, extending the period within which Debtor may assume

or reject the lease of nonresidential real property (the “Lease”) with its landlord Metropolitan

Transportation Authority, acting by and through Metro-North Commuter Railroad Company (the

“Landlord” or “MTA Metro North”) by ninety (90) days through and including November 27,

2018. In support of this Motion, the Debtor respectfully represents as follows:

                                              JURISDICTION

        1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in
this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory basis for the relief requested in

this Motion is Bankruptcy Code section 365(d)(4).

                                        BACKGROUND

       2.      On May 1, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code, and thereafter, continues to operate its business and

manage its property as a debtor-in-possession pursuant to §§1107 and 1108 of the Bankruptcy

Code. No receiver, examiner or creditor’s committee has been appointed.

       3.      The Debtor operates a restaurant under the name La Chula located at 50 Grand

Central Terminal, New York, New York 10017.

       4.      The bankruptcy filing was precipitated by a landlord-tenant dispute with the

Debtor’s landlord MTA Metro North. Due to the extended time for construction of the restaurant

and cost-overruns, the Debtor fell behind in the payment of rent.

       5.      Through the bankruptcy, the Debtor intends to reorganize its business, stabilize its

finances, and make a payment to creditors through a plan of reorganization.

       6.      The Debtor is a party to the Lease with the Landlord for space located in the dining

concourse area of Grand Central Station known as Space Numbers LC 27 and LC 29. A copy of

the Lease is annexed hereto as Exhibit B.

       7.      The term pursuant to the Lease has an additional approximate 7 years remaining

through December 31, 2025.




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                                        RELIEF REQUESTED

       8.       By this Motion, the Debtor respectfully requests the entry of an order pursuant to

Bankruptcy Code section 365(d)(4) extending the 120-day deadline to assume or reject the Leases

(the “Deadline”) by ninety (90) days from the current deadline of August 29, 2018 through and

including November 27, 2018 for a total of two hundred ten (210) days.

       9.       Section 365(d)(4)(A) of the Bankruptcy Code provides for an initial period of 120

days after the commencement of a chapter 11 case during which a debtor may assume or reject

leases of nonresidential real property under which the debtor is the lessee. See 11 U.S.C. §

365(d)(4)(A).

       10.      Section 365(d)(4)(B) of the Bankruptcy Code further provides that:

       (B)(i) The court may extend the period determined under subparagraph (A), prior
       to the expiration of the 120-day period, for 90 days on the motion of the trustee or
       lessor for cause.

11 U.S.C. § 364(d)(4)(B).

       11.      The term “cause” as used in section 365(d)(4) is not defined in the Bankruptcy Code

nor does the Bankruptcy Code establish formal criteria for evaluating a request for an extension of

the initial 120-day period. Although the decision to extend a debtor’s time to assume or reject

Remaining Leases of nonresidential real property is generally within the sound discretion of the

Court, in determining whether cause exists for an extension of the initial 120- day period, Courts

have relied on several factors, including the following:

                (i)     whether the debtor was paying for the use of the property;

                (ii) whether the debtor’s continued occupation … could damage the lessor
                beyond the compensation available under the Bankruptcy Code;

                (iii)    whether the lease is the debtor’s primary asset; and



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               (iv) whether the debtor has had sufficient time to formulate a plan of
               reorganization.

See South St. Seaport L.P. v. Burger Boys, Inc. (In re Burger Boys, Inc.), 94 F.3d 755, 761 (2d

Cir. 1996) (citing Theatre Holding Corp. v. Mauro, 681 F.2d 102, 105–06 (2d Cir. 1982) and noting

that the list of factors “is by no means exhaustive,” and a bankruptcy court may consider others,

such as the complexity of the debtor’s case and the number of leases the debtor must evaluate); In

re 611 Sixth Ave. Corp., 191 B.R. 295, 298, 302-03 (Bankr. S.D.N.Y. 1996) (extending debtor’s

time to assume or reject lease where lease was primary asset and essential to debtor’s plan,

reversion would confer a windfall on the landlord, and, at the early stage of the case, the debtor

required more time to resolve mechanics’ liens and other claims prior to deciding whether it could

assume the lease); In re Wedtech Corp., 72 B.R. 464, 471–72 (Bankr. S.D.N.Y. 1987)

(considering, among other factors, the complexity of the case facing the debtor and the number of

leases the debtor must evaluate); see also In re Channel Home Ctrs., Inc., 989 F.2d 682, 689 (3d

Cir. 1993) (Alito, J.) (“[I]t is permissible for a bankruptcy court to consider a particular debtor’s

need for more time in order to analyze leases in light of the plan it is formulating.” (citing Wedtech,

72 B.R. at 471–72)); In re Unit Portions of Del., Inc., 53 B.R. 83, 85 (Bankr. E.D.N.Y. 1985)

(“Congress recognized that there may be times when it is not possible for the trustee to make a

careful and informed assessment of the benefits and burdens of the lease within this [statutory]

period. Accordingly, it empowered the court to grant a trustee who demonstrates cause for

extension additional time to make this assessment.”). The foregoing factors weigh in favor of

granting the requested extension.

       12.     First, the Debtor is making timely payments for the use of the premises associated

with the Lease, and is continuing to perform its other obligations under the Lease in a timely

fashion, to the extent required by section 365(d)(3) of the Bankruptcy Code.


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       13.     Second, there is no reason why the Debtor’s proposed extension of the time to

assume or reject the Lease could or would damage the Landlord in an amount beyond such

compensation as is available to the Landlord under the Bankruptcy Code. Pending the Debtor’s

election to assume or reject the Lease, the Debtor will continue to perform all of its undisputed

obligations arising after the Petition Date, including the payment of postpetition rent, in a timely

fashion to the extent required by section 365(d)(3) of the Bankruptcy Code.

       14.     Third, the Lease remains a valuable asset of the Debtor and the Debtor’s estate and

preserving the value of the Lease is necessary for any reorganization of the Debtor’s operations or

sale of the Debtor’s business. It is important that the Debtor be afforded sufficient time to fully

evaluate the Lease, and the Debtor should not be forced to incur administrative claims or reject

what may prove to be a necessary asset before it has had a full opportunity to explore its options

with respect to the Lease. The extension of time requested will facilitate the Debtor’s efforts to

maximize value by allowing the Debtor additional time to analyze the Lease thoroughly.

       15.     Where the initial period to assume or reject Remaining Leases has proven to be

inadequate, bankruptcy courts have routinely extended such periods.

       16.     Consequently, the Debtor submits that cause exists for the Court to extend the time

within which the Debtor may assume or reject the Lease for ninety (90) days through and including

November 27, 2018, without prejudice to the Debtor’s right to seek a further extension of such

deadline with the consent of the Landlord, as provided in section 365(d)(4)(B)(ii) of the

Bankruptcy Code.

                                             NOTICE

       17.     No trustee or examiner has been appointed in this chapter 11 case. The Debtor have

served notice of this Motion on: (a) the Office of the United States Trustee for the Eastern District


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of New York; (b) all creditors, (c) any party filing a notice of appearance; and (d) the Landlord.

The Debtor submits that, in light of the nature of the relief requested, no other or further notice is

necessary or required.

                                     NO PRIOR REQUEST

         18.    No prior request for the relief sought herein has been made to this or any other

court.

         WHEREFORE, the Debtor respectfully requests that the Court enter an order, substantially

in the form annexed hereto as Exhibit A, granting the relief requested herein and granting such

other and further relief as this Court deems just and proper.

Dated: New York, New York
       July 24, 2018
                                               Respectfully Submitted,

                                               MORRISON TENENBAUM PLLC

                                                /s/ Brian J. Hufnagel
                                               By: Lawrence F. Morrison
                                               Brian J. Hufnagel
                                               Counsel for the Debtor and
                                               Debtor in Possession
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